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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

CASE NO. 17-cr-384-CN|A

UN|TED STATES OF AMER|CA,
P|aintiff,

v.

_ 1. ER|C RONALD BOLDUAN,

Defendant.

 

STATEMENT BY DEFENDANT lN ADVANCE OF PLEA OF GU|LTY

 

l acknowledge and certify that l have been advised ofand understand the following
facts and rightsl that all representations contained in this document are true and correctl
and that my attorney has assisted me as l have reviewed and completed this document

1. The nature of the charge(s) against me has/have been explained to me by
my attorney. l have had an opportunity to discuss With my attorney both the nature of the
charge(s) and the elements Which the government is required to prove.

2. l know that when the Court sentences mel the Court wi|| consider many
factors. These factors are listed in 18 U.S.C. § 3553 and include (a) the nature and
circumstances of the offense and my personal history and characteristics (b)' the need
for a sentence to reflect the seriousness of the offense, promote respect for the |aw,
provide just punishmentl afford deterrence, protect the public, and provide me with
needed training, care or correctional treatment in the most effective man ner, (c) the kinds

of sentences available to the court, (d) the advisory sentencing guidelines established by

COURT EXH|B|T

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the U.S. Sentencing Commission, (e) the pertinent policy statements of the U.S.
Sentencing Commission, (f) the need to avoid unwarranted sentence disparity among
defendants with similar records who have been found guilty of similar conduct, and (g)
the need to provide restitution No single factor is controlling or determinative | recognize
that it is possible that the Court cou|d, after considering these factors, impose any
sentence in my casel including one which is as severe as the maximum term of
imprisonment, the maximum fine, full restitution (if applicable), the maximum term of
supervised release, and a special assessment, all as set out in paragraph 3 below.

3. l know that the following penalties may be imposed as a result of my guilty
plea(s): Counts One through Six of the indictment charging violations of 18 U.S.C. §
2261A(2)(B) (Counts 1, 2, and 4) and violations of 18 U.S.C. § 875(c) (Counts 3, 5 and
6).

Vio|ations of 18 U.S.C. § 2261A(2)(B) (Counts 1, 2, and_4)

a. imprisonment for a term of not more than 5 years;

b. A term of supervised release of not more than 3 years, pursuant to
18 U.S.C. § 3583;

c. A fine of not more than $250,000.00, pursuant to the statute that |
admit l violated and/or the alternative fine schedule set out at 18 U.S.C. § 3571;

d. Restitution to the victim(s) of my crime(s) of not more than $_,
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664;

e. A special assessment of 3100.00, pursuant to 18 U.S.C. § 3013.

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Violat_ions of 18 U.S.L§ 875(0) (Cognts 3, 5 and 6)

a. imprisonment for a combined term of not more than 5 years;

b. A term of supervised release of not more than 3 years1 pursuant to
18 U.S.C. § 3583;

c. A fine of not more than $250,000.00, pursuant to the statute that l
admit l violated and/or the alternative fine schedule set out at 18 U.S.C. § 3571;

d. Restitution to the victim(s) of my crime(s) of not more than $_,
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664;

e. A special assessment of $100.00, pursuant to 18 U.S.C. § 3013.

4. i know that if | am convicted of more than one count, the sentences imposed
may be either concurrent (served at the same time) or consecutive (served separately or
back-to-back) unless the statutory penalty for an offense of conviction expressly requires
that a sentence be imposed to run consecutivelyl

5. | know that in addition to any punishment that the Court may impose, there
are collateral consequences to pleading guilty to a crime. These consequences are
neither imposed nor controlled by the Court. For examplel pleading guilty may result in a
loss of civil rights, including but not limited to the rights to possess firearmsl votel hold
elected officel and sit on a jury. And, if | arn not a citizen of the United States, these
consequences may include deportation from the United States or indefinite confinement
if there is no country to which l may be deported, denial of the right to enter the United

States in the future, and denial of citizenshipl

 

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6. l know that if l am given a term of supervised release as a part of my
sentencel that supervised release will only begin to run upon my release from custody on
all terms of imprisonment imposed by this and any other courts l understand that any
violation of the conditions of that supervised release during its term may lead to an
additional prison sentence and additional supervised release being imposed

7. l know that there is no parole in the federai system and that l will be required
to serve the entire sentence of imprisonment which may be imposed in my case, reduced
only by such good time and/or program allowances as may be set by Congress and
applied by the Bureau of Prisons_

8. | know that if a fine or restitution is imposed as a part of my sentence, l Wi||
be required to pay interest on any amount in excess of $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment or unless
interest is waived by the Court.

9. l know that if a fine or restitution is imposed as a part of my sentence, l will
be required to pay it in a timely manner. Failure to do so may trigger monetary penalties,
collection efforts by the government, potential revocation of any probation or supervised
reieasel and/or exposure to prosecution for “Criminal Default” under 18 U.S.C. § 3615.

10. l know that l can be represented by an attorney at every stage of the
proceedings in this matter, and | know that, if l cannot afford an attorney, one will be
appointed to represent me at no cost or expense to me.

11. l know that l have a right to plead “not guilty;” and l know that if l do plead

“not guilty,” l can persist in that plea and demand a trial.

 

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12. l know that l have a right to and can demand a trial byjury, and l know that

ifi choose to stand triai:

3.

l have a right to the assistance of an attorney at every stage of the
proceeding;

l have a right to see and observe the witnesses who testify against
me;

iViy attorney can cross-examine all witnesses who testify against me;

l can call and present such relevant witnesses and evidence as |
desirel and l can obtain subpoenas to require the attendance and
testimony of those witnesses;

if l cannot afford to pay witness fees and expenses, the government
will pay those fees and expenses, including mileage and travel
expenses, and including reasonable fees charged by expert
witnesses;

l cannot be forced to incriminate myself and i do not have to testify
at any triai;

However, i can testify at my trial if l choose to, and l do not have to
decide whether or not to testify until after l have heard the
governments evidence against me;

if l decide that l do not want to testify at trial, the jury Will be told that
no guilt or inference adverse to me may be drawn from my decision
not to testify;

ln order for me to be convicted, the government must prove each and
every element of the offense(s) With which | am charged, beyond a
reasonable doubt;

in order for me to be convicted, the jury must reach a unanimous
verdict of guilty, meaning all jurors must agree that | am guilty; and

|f l Were to be convicted, l could appeal both my conviction and
Whatever sentence the Court later imposed, and if i could not afford
an appeal, the government would pay the cost of the appeal,
including the cost of an appointed attorney.

 

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13. l know that if l plead guilty, there will not be a trial of any kind.

14. l know that if l plead guilty, there will be no appellate review of the question
of whether or not l am guilty of the offense(s) to which l have pled guilty

15. l know that once this Court sentences me following a plea of guilty, i can
only seek appellate review of the sentence imposed. While appellate review of a
sentence is an important right, it is not a form of automatic resentencing by a different
court. To the contrary, l understand that appellate review will not result in any
resentencing or in any alteration to or reduction of my sentence in the absence of error
by the original sentencing court.

16. There is no plea agreement in this case

17. l understand that the Court will make no decision as to what my sentence
will be until a Presentence Report has been prepared by the Probation Department and
received and reviewed by the Court.

18. l know that When l enter my plea(s) of guiltyl the Court may ask me
questions under oath about the offense(s) to which l have pled guilty Such questions, if
asked of me on the record and in the presence of my attorneyl must be answered by me,
and if | give false answers, i can be prosecuted for perjury

19. l know that l have the right to ask the Court any questions that l have

concerning my rights, these proceedings and my plea(s) to the charge(s).

20. l am 43 years of age. My education consists of 16 years l [cannot]

understand the English language (Circie either “can" or “cannot.”) l am not taking any

 

 

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medications which interfere With my ability to understand the proceedings in this matter
or which impact or affect my ability to choose whether to plead guilty

21. No one has promised me that l will receive probation, home confinement or
any other specific sentence desired by me because of my plea(s) of guilty

22. l have had sufficient opportunity to discuss this case and my intended
plea(s) of guilty with my attorney l do not wish to consult with my attorney any further
before i enter my plea(s) of guilty

23. l am satisfied with my attorney l believe that l have been represented
effectively and competently in this case.

24. lVly decision to enter the plea(s) of guilty is made after full and careful
thought, with the advice of my attorney, and with full understanding of my rights, the facts
and circumstances of the case, and the potential consequences of my plea(s) of guilty i
was not under the influence of any drugs, medication, or intoxicants which affect my
decision-making ability when l made the decision to enter my guilty plea(s). | am not now
under the influence of any such drugs, medication or intoxicants.

25. l want to plead guilty and have no mental reservations about my decision

26. insofar as it shows my conduct, the summary of facts set out in the
document entitled “Guiity Plea and Statement of Facts Relevant of Sentencing” is true
and correct, except as | have indicated in that document

27. l wish to plead guilty to the following charge(s): Counts One through Six of
the indictment charging violations of 18 U.S.C. § 2261A(2)(B) (Counts 1, 2, and 4) and

violations of 18 U.S.C. § 875(0) (Counts 3, 5 and 6).

 

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Dated this C"ll_, day of S`s], j:£,,,.i./ ,2018.
€__, ’)/L,,-\

Eric Ronald Bolduan
Defendant

l certify that l have discussed this statement and the document entitled “Plea Agreement”
with the defendant l certify that l have fully explained the defendants rights to him or her
and have assisted him or her in completing this form. | believe that the defendant

understands his or her rights and these statements

oaiedlhis C,{"”day of &ji¢rx&u ,2018.

/i/r@/

iVlatthew Gdi'la '
Attorney for Defendant

 

 

